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                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                       CASE NO: 6:24-cr-74-JSS-EJK

 JEREMY CHARLES DEWITTE


                                                                                          AUSA: Adam Nate

                                                                           Defense Attorney: James Skuthan

JUDGE:          EMBRY J. KIDD                      DATE AND TIME:                           April 10, 2024
                United States Magistrate Judge                                      11:00 A.M.-11:03 A.M.

Courtroom:      4C                                 TOTAL TIME:                                    3 minutes

DEPUTY          Julie Reyes                        REPORTER:                                         Digital
CLERK:                                                                https://www.flmd.uscourts.gov/webfor
                                                                                       ms/digital-recording-
                                                                                     transcript-request-form
INTERPRETER:    N/A                                PRETRIAL/PROB:


                                             CLERK’S MINUTES
                                                 STATUS HEARING

 Case called, appearances made, procedural setting by the Court.
 The Initial Appearance and Arraignment is rescheduled to Thursday, April 11, 2024 @ 8:30 am.




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